      Case: 18-31065   Document: 00515206457 Page: 1 Date Filed: 11/20/2019
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           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
                            _______________________            United States Court of Appeals
                                                                        Fifth Circuit

                                                                      FILED
                                 No. 18-31065                   October 29, 2019
                            _______________________
                          D.C. Docket No. 2:16-CV-84             Lyle W. Cayce
                                                                      Clerk
 JONI FONTENOT,

             Plaintiff - Appellee Cross-Appellant

 v.

 SAFETY COUNCIL OF SOUTHWEST LOUISIANA,

             Defendant - Appellant Cross-Appellee

              Appeals from the United States District Court for the
                         Western District of Louisiana

 Before HIGGINBOTHAM, DENNIS, and HO, Circuit Judges.

                               JUDGMENT

      This cause was considered on the record on appeal and was argued by
 counsel.

       It is ordered and adjudged that the judgment of the District Court is
 affirmed.

      IT IS FURTHER ORDERED that each party bear its own pay costs on
 appeal.




                                              Certified as a true copy and issued
                                              as the mandate on Nov 20, 2019
                                              Attest:
                                              Clerk, U.S. Court of Appeals, Fifth Circuit
      Case: 18-31065   Document: 00515206458 Page: 1 Date Filed: 11/20/2019
Case 2:16-cv-00084-NJB-KK Document 210 Filed 11/20/19 Page 2 of 6 PageID #: 3767




            IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT
                                                                      United States Court of Appeals
                                                                               Fifth Circuit

                                       No. 18-31065                          FILED
                                                                      October 29, 2019
                                                                        Lyle W. Cayce
 JONI FONTENOT,                                                              Clerk

               Plaintiff - Appellee Cross-Appellant

 v.

 SAFETY COUNCIL OF SOUTHWEST LOUISIANA,

               Defendant - Appellant Cross-Appellee




                   Appeals from the United States District Court
                       for the Western District of Louisiana
                               USDC No. 2:16-CV-84


 Before HIGGINBOTHAM, DENNIS, and HO Circuit Judges.
 PER CURIAM:*
        Joni Fontenot replaced Robert McCorquodale as the head officer of the
 Safety Council of Southwest Louisiana in October 2011 after the council
 discovered     McCorquodale’s       financial    improprieties      and        he       resigned.
 Fontenot’s salary was less than McCorquodale’s. But she had less relevant
 experience and education. Fontenot’s contract term was three years, with the
 opportunity for automatic renewal absent written notice of non-renewal from


        * Pursuant to 5TH CIR. R. 47.5, the court has determined that this opinion should not
 be published and is not precedent except under the limited circumstances set forth in 5TH
 CIR. R. 47.5.4.
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 either her or the council. The contract also provided for a discretionary bonus.
 For the years 2012 through 2014, Fontenot’s bonuses ranged from $9,350 to
 $10,000.
        On September 3, 2015, Fontenot complained to the Safety Council’s
 president, Steven Trahan, that she was making less than McCorquodale did.
 After the complaint, Trahan criticized Fontenot’s handling of a loan with a
 local bank, claiming that her actions could harm the Safety Council’s
 reputation. The Safety Council gave Fontenot a $6,000 bonus for 2015—about
 $4,000 below her past bonuses—but it also gave her a 6% raise for 2016. In
 July 2017, the council notified Fontenot that they were not going to renew her
 contract.    Then, in October 2017, the council offered her a new one-year
 contract that gave her a raise and provided for termination only for cause. 1
        Fontenot sued the Safety Council in January 2016 alleging a violation of
 the Equal Pay Act, 29 U.S.C. § 206(d), and retaliation, 29 U.S.C. § 215(a)(3). A
 jury determined that the Safety Council proved its affirmative defense that the
 pay differential between McCorquodale and Fontenot was “pursuant to . . . a
 differential based on any other factor other than sex . . . .”                  29 U.S.C.
 § 206(d)(1)(iv). It also determined that the council retaliated against Fontenot
 for engaging in protected activity. The jury awarded Fontenot $120,000 in
 damages.
        The Safety Council and Fontenot renewed their motions for judgment as
 a matter of law attacking the adverse parts of the verdict. Fontenot also filed




        1 Although Fontenot’s previous contract allowed the council to terminate her without
 cause, it required that she receive a month of notice for each year the Safety Council had
 employed her, with a minimum notice period of six months. The district court determined
 that, at the time of the trial, the previous contract would have required the council to give
 Fontenot seventeen months’ notice before terminating her without cause, and it thus would
 have provided five months more guaranteed employment than the new one-year contract that
 Safety Council offered her.
                                              2
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                                  No. 18-31065
 a motion for liquidated damages and attorney’s fees. The district court denied
 both motions for judgment as a matter of law. It awarded Fontenot liquidated
 damages equal to the jury verdict—thus giving Fontenot $240,000 in damages.
 In the alternative, the district court awarded Fontenot $4,000 in damages for
 the reduction of her bonus, $4,000 of liquidated damages based on that
 reduction, and $232,000 in front pay.      Finally, the district court awarded
 Fontenot attorney’s fees, but reduced her requested hourly rate to reflect the
 amount her attorneys usually billed and the total fee amount because Fontenot
 lost her Equal Pay Act claim.
       Both parties appealed those rulings adverse to them, and the Safety
 Council also appealed the district court’s decision to admit Fontenot’s expert
 testimony as to damages she suffered under the Equal Pay Act.
       After reviewing the briefs, the applicable law, the relevant parts of the
 record, and hearing oral argument, we affirm the denial of the renewed
 motions for judgment as a matter of law, essentially on the basis the district
 court provided in its August 30, 2018, orders. We dismiss the council’s appeal
 of the evidentiary ruling as moot. We also affirm the district court’s award of
 attorney’s fees, essentially on the basis the court provided in its September 10,
 2018, order.
       As to damages:      The district court awarded Fontenot $120,000 in
 liquidated damages on top of the $120,000 the jury awarded. The liquidated
 damages rested on two retaliatory acts—the $4,000 reduction of Fontenot’s
 bonus and the council’s termination of Fontenot’s contract. The latter accounts
 for $116,000 of the amount.
       Only “wages lost” can give rise to liquidated damages.          29 U.S.C.
 § 216(b). “Wages lost” refers to past earnings an employer withholds. See
 Olitsky v. Spencer Gifts, Inc., 964 F.2d 1471, 1479 (5th Cir. 1992) (refusing to
 award liquidated damages equal to front pay for an ADEA violation, which
                                        3
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 incorporates 29 U.S.C. § 216(b)’s liquidated damages provision); Cassino v.
 Reichhold Chems., Inc., 817 F.2d 1338, 1348 (9th Cir. 1987) (“Under FLSA's
 remedial provisions, as incorporated into the ADEA, a violating employer is
 liable for wages and benefits from the date of the wrongful termination until
 the date of trial, as well as ‘an additional equal amount as liquidated
 damages’ . . . .”). Thus, the reduction of Fontenot’s bonus—which had already
 occurred—gives rise to liquidated damages.           But the Safety Council’s
 termination of Fontenot—since it operated prospectively—resulted only in lost
 future wages. It cannot support a liquidated damages award.
       But it can support an award of front pay. See Hansard v. Pepsi-Cola
 Metro. Bottling Co., 865 F.2d 1461, 1469 (5th Cir. 1989) (“‘Front pay’ refers to
 future lost earnings.”). And front pay is part of the district court’s alternative
 award calculation: $4,000 for the bonus reduction, $4,000 in liquidated
 damages based on that reduction, and $232,000 as two years of front pay for
 the termination. The Safety Council’s only objection to the award of front pay
 is that it did not terminate Fontenot. But a jury could determine that the
 council’s non-renewal of Fontenot’s contract was a termination, which is partly
 why the district court denied the council’s motion for judgment as a matter of
 law. We upheld that denial and therefore affirm the district court’s award of
 damages on the grounds stated here and by the district court.




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                     United States Court of Appeals
                                     FIFTH CIRCUIT
                                  OFFICE OF THE CLERK
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                                November 20, 2019


 Mr. Tony R. Moore
 Western District of Louisiana, Lake Charles
 United States District Court
 300 Fannin Street
 Suite 1167
 Shreveport, LA 71101-0000

        No. 18-31065        Joni Fontenot v.
                            Safety Council of Southwest LA
                            USDC No. 2:16-CV-84


 Dear Mr. Moore,
 Enclosed is a copy of the judgment issued as the mandate and a
 copy of the court's opinion.


                                      Sincerely,
                                      LYLE W. CAYCE, Clerk


                                      By: _________________________
                                      Rebecca L. Leto, Deputy Clerk
                                      504-310-7703

 cc w/encl:
      Mr. Robert E. Landry
      Mr. Timothy O'Dowd
      Mr. Peter J. Pohorelsky
